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                            IN THE UNITED STATES DISTRICT COURT FOR THE

                                      EASTERN DISTRICT OF VIRGINIA

                                             Alexandria Division


      UNITED STATES OF AMERICA                    )
                                                  )       CASE NO. 1:18-CR-83-TSE
                                v.                )
                                                  )       Trial Date: July 31, 2018
      PAUL J. MANAFORT, JR.,                      )
                                                  )       The Honorable T. S. Ellis, III
                                                  )
                                Defendant.        )


                            GOVERNMENT'S FOURTH AMENDED EXHIBIT LIST

              The United States of America, by and through undersigned counsel, hereby submits its

      list of trial exhibits.



Ex.      Description                                                                   Obj.   Off’d Adm.
No.
1A       Photograph – 1046 N Edgewood Street, Arlington, VA
1B       Photograph – 29 Howard Street, New York, NY
1C       Photograph – 377 Union Street, Brooklyn, NY
1D       Photograph – 601 N Fairfax Street, Alexandria, VA
1E       Photograph – 174 Jobs Lane, Bridgehampton, NY
1F       Photograph – Palm Beach Gardens House
2A       Immunity Order – D. Raico
2B       Immunity Order – J. Brennan
2C       Immunity Order – D. Duggan
2D       Immunity Order – C. O'Brien
2E       Immunity Order – C. Laporta
2F       Plea Agreement – R. Gates
3        2005.10.24 Consulting Agreement

4        2009.07.01 Consulting Agreement
5        2006.01.03 Memo P. Manafort, T. Devine, V. Yanukovych et al re
         Messages for January Next Wave of Television and Radio Ads


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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
6       Devine Mulvey Longabaugh Invoices to Davis Manafort (2010, 2014)
7       2010.02.03 Email T. Devine to P. Manafort re Election Night Speech
8       2010.02.15 Email T. Devine to P. Manafort et al re Job Well Done
9       2010.02.16 Email T. Devine to P. Manafort re FYI
10      2010.08.12 Memo P. Manafort to V. Yanukovych et al re another memo
11      2010.09.01 Email T. Devine to P. Manafort, R. Gates et al re Talking
        Points
12      2011.09.20 Email Chain D. Rabin, J. Mulvey, P. Manafort, R. Gates, K.
        Kilimnik, T. Devine et al re Ukraine - First Draft
13      2012.04.02 Email Chain T. Devine, R. Gates, P. Manafort et al re Ukraine
14      2012.08.06 Email T. Devine to P. Manafort re Memo
15      2014.03.31 Email T. Devine to R. Gates et al re Call - Important
16      2014.03.31 Email T. Devine to R. Gates et al re Draft Proposal
17      2014.06.09 Email T. Devine to R. Gates et al re Kyiv
18      2014.06.16 Email T. Devine to K. Kilimnik, R. Gates et al re Ukraine Trip

19      2014.06.19 Email T. Devine to K. Kilimnik re Can u resend the talking
        points
20      2010.07.12 Memo Devine Mulvey Longabaugh & Rabin Strasberg to
        Davis Manafort Partners re 2010 Message Strategy and Proposal
21A     2010.06.30 Email Chain P. Manafort, T. Devine, D. Rabin, R. Gates, K.
        Kilimnik et al re Local election program
21B     2010.08.10 Email P. Manafort to T. Devine, D. Rabin re First TV spot
21C     2010.10.04 Email Chain P. Manafort, A. Strasberg, D. Rabin, K. Kilimnik
        re brochures
21D     2014.04.29 Email Chain P. Manafort, D. Rabin, K. Kilimnik, R. Gates re
        Campaign TPs and Events
21E     2015.09.23 Email P. Manafort to K. Kilimnik, D. Rabin, V. Stepanov, R.
        Gates re Media Buy
22      2010.09.09 Chart re Every Level V4

23      2010.09.28 Invoice Rabin Strasberg to Davis Manafort Partners
24      2010.10.15 Invoice Rabin Strasberg to Davis Manafort Partners
25      2012.04.16 Memo D. Rabin, A. Strasberg to P. Manafort, R. Gates re
        Ukraine Media
26      2012.04.19 Memo D. Rabin, A. Strasberg to K. Kilimnik, P. Manafort, R.
        Gates re Meeting Agenda
27      2012.04.24 Memo D. Rabin, A. Strasberg to P. Manafort re Kyiv Meetings
28      2012.05.02 Email Chain K. Kilimnik, V. Tolmach, P. Manafort, A.
        Strasberg, T. Fabrizio, D. Rabin, R. Gates re Euro 2012 Scripts
29      2012.06.29 Memo D. Rabin, A. Strasberg to P. Manafort re New film crew
        recommendations

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Ex.     Description                                                              Obj.   Off’d Adm.
No.
30      2012.10.23 Invoice D. Rabin to DMP International
31      2014.04.18 Invoice D. Rabin to DMP International
32      2014.05.12 Invoice D. Rabin to DMP International
33A     Photograph – V. Yanukovych #1
33B     Photograph – V. Yanukovych #2
33C     Photograph – V. Yanukovych #3
34      2017.06.27 DMP International FARA Filing
34A     2017.06.27 DMP International FARA Filing Certificate of Authenticity
35      2015.06.23 Peranova Loan Forgiveness Letter
36      2016.03.08 Signed Banc of California Personal Financial Statement and
        Loan Application
37      2017.01.13 First Nationwide Title Disbursement Statement
38      Genesis Capital Documents
39      MC Brooklyn Holdings Ledger
40      2013.01.15 VY Agenda
41      2013.04.05 Memo P. Manafort to S. Lyovochkin re PR Effort this week in
        Kyiv
42      2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants
43      2013.04.25 Memo P. Manafort to S. Lyovochkin re Summary of Overdue
        Accounts
44      2014.09 Ukraine OB Campaign Strategy Powerpoint
45      2014.09.24 OB Daily Talking Points
46      2014.10.07 Memo P. Manafort to Campaign HQ re OB Campaign Leaflets
47      Memo re May 17 Rallies
48      2010.03.01 Sensoryphile Invoice for $20,000
49      Big Picture Solutions Invoice
50      Big Picture Solutions Bill of Materials
51      2011.11.08 Signed SP&C Home Improvement Renovation Proposal for
        174 Jobs Lane
52      2012.02.16 Signed SP&C Home Improvement Renovation Proposal for 29
        Howard St
53      2013.03.01 SP&C Proposal for 83 Whooping Hollow Road
54      SP&C Home Improvement Proposal for 174 Jobs Lane
55      Photographs – Clothing with Alan Couture Labels
56      Photographs – Clothing with House of Bijan Labels
57      Photographs – House of Bijan Watch
58      J&J Oriental Rug Gallery Documents
59      2007.02.14 P. Manafort Cyprus, Berlin, & Kiev Trip Itinerary
59A     2010.02.16 Memo P. Manafort to V. Yanukovych re Professional Team –
        Bonuses


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Ex.     Description                                                               Obj.   Off’d Adm.
No.
59B     2010.02.22 Memo P. Manafort to V. Yanukovych re Wire Transfer Details
        for Personal Bonuses
59C     P. Manafort Contact List
59D     Memo to P. Ayliff, R. Gates et al re 2012 estimates
60A     2016 Season New York Yankees Account
60B     Ukraine Documents
60C     Party of Regions Advance and Training
60D     Residential Lease Agreement, Request for Tax Transcripts, Mercedes Benz
        Records, and Authorization Forms
60E     Ukrainian Strategy Memos
61      Foreign Entities Chart
62A     [Intentionally Left Blank]
62B     [Intentionally Left Blank]
62C     United Kingdom Incorporation Documents
63      Foreign Bank Accounts
64A     [Intentionally Left Blank]
64B     [Intentionally Left Blank]
64C     Bank Records – United Kingdom
65A     Chart – Aegis Holdings Payments
65A1    Seacoast Bank Records for Aegis Holdings
65B     Chart – Alan Couture Payments
65B1    Emails Leviathan (Alan Couture)
65C     Chart – Big Picture Solutions Payments
65C1    2011.11.22 Email - Global Highway (Big Picture)
65D     Chart – Federal Stone & Brick Payments
65E     Chart – House of Bijan Payments
65E1    Emails Global Highway and Leviathan (House of Bijan)
65F     Chart – J&J Oriental Rug Gallery Payments
65G     Chart – Land Rover of Alexandria Motors Payments
65G1    Wells Fargo Bank Records for Land Rover of Alexandria
65H     Chart – Mercedes Benz of Alexandria Payments
65I     Chart – New Leaf Landscape Payments
65I1    2011.12.05 Email - Leviathan (New Leaf)
65J     Chart – Sabatello Construction Payments
65J1    Anchor Bank Records for Sabatello Construction
65J2    2011.12.20 Email - Black Sea View (Sabatello)
65K     Chart – Scott Wilson Landscaping Payments
65K1    Bridgehampton National Bank Records for Scott Wilson Landscaping
65K2    2010.10.05 Email - Global Highway (Scott Wilson)
65L     Chart – Sensoryphile Payments


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Ex.     Description                                                             Obj.   Off’d Adm.
No.
65L1    2010.07.28 Email - Leviathan (Sensoryphile)
65M     Chart – SP&C Home Improvement Payments
65M1    Emails – Yiakora, Global Highway and Leviathan (SP&C)
66A     Cyprus Incorporation Documents
66B     Eurobank Documents
66C     Hellenic Bank Documents
66D     Bank of Cyprus Documents
66E     Bank of Cyprus Documents
66F     Accounting Records
66G     Hellenic Bank Documents
67A     St. Vincent and the Grenadines Documents
67B     St. Vincent and the Grenadines Documents
67C     St. Vincent and the Grenadines Documents
68      Chart – Property Overview
69A     Payment Flow Chart for 29 Howard St Property
69B     Payment Flow Chart for 1046 N Edgewood St Property
69C     Payment Flow Chart for 377 Union St Property
70A     First Republic Bank Accounts XXXXXXX6573 and XXXXXXX7373 for
        Jesand
70B     First Republic Bank/Pershing Account XXXXXXX5358 for J. Manafort
70C     First Republic Bank Account XXXXXXX6524 for DMP International
70D     First Republic Bank Account XXXXXXX9730 for P. and K. Manafort
70E     First Republic Bank Account XXXXXXX5868 for MC Soho
70F     FRB Account 6524 for DMP Intl (FRB Version)
71      TD Bank Trust Account XXXXXX5374 for B. Baldinger
72      Chart – Vendor and Property Payments From Foreign Bank Accounts
73A     FBAR Chart for 2010
73B     FBAR Chart for 2011
73C     FBAR Chart for 2012
73D     FBAR Chart for 2013
73E     FBAR Chart for 2014
74      Deposit Analysis – Foreign Source of Funds Received by Foreign
        Accounts
75      Chart – P. Manafort Summary of Tax Returns
76      Summary of Foreign Wires to Third Party Vendors for the Benefit of P.
        Manafort
77      Chart – P. Manafort Reported Personal Income
78      Chart – Analysis of Foreign Bank Accounts
78A     Non-Vendor Payments Allowed
78B     Summary of Unreported Business Income of DMP International LLC


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Ex.     Description                                                              Obj.   Off’d Adm.
No.
79      Chart – Selected Transactions
80      Chart – FARA Analysis
81      2012.11.19 Email Chain D. DeLuca to P. Manafort, A. Manafort, J.
        Browning re Contract
82      2012.10.26 Email P. Manafort to D. DeLuca re Manafort Project,
        Edgewood St, Arlington, VA
83      Draft of Pergola
84      Photograph – Backyard
85      Photograph – Pergola
85A     Photograph – Outdoor Kitchen
86      Federal Stone and Brick Bank Records
87      2013.05.29 Email Chain P. Manafort, D. Browning., D. DeLuca re Invoice
        from Federal Stone and Brick
88      2012.08.21 Check from A. Manafort to McEnearney
89      2012.08.21 Sales Contract for 1046 N. Edgewood St, Arlington, VA
90      2012.08.31 A. Manafort Landtech Receipt
91      2012.09.01 Email W. Holland to L. Flynn, P. Manafort re 1046 N.
        Edgewood St
92      2012.09.10 Settlement Statement
93      Chart – Purchase of 1046 N. Edgewood St, Arlington, VA
94      Vendor Chart – SP&C
94A     SP&C Home Improvement Invoices (2010-2014)
95A     SP&C Home Improvement Bank Records
95B     SP&C Home Improvement Bank Records
95C     SP&C Home Improvement Bank Records
96A     Photograph – Backyard
96B     Photograph – Basement
96C     Photograph – Front of House
96D     Photograph – Kitchen
96E     Photograph – Side of House (1)
96F     Photograph – Side of House (2)
96G     Photograph – Waterfall Pond
97      Vendor Chart – Alan Couture
97A     Alan Couture Invoices (2010-2014)
97B     Alan Couture Invoices (2010)
98      Alan Couture Bank Records
99      2011.03.21 Email P. Manafort to M. Katzman re update
100     2013.08.27 Email M. Katzman to P. Manafort re Statement 7-23-13
101     2014.03.24 Email M. Katzman to R. Gates re Wire transfers
102     Vendor Chart – Big Picture Solutions


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Ex.     Description                                                            Obj.   Off’d Adm.
No.
102A    Big Picture Solutions Invoices (2011-2014)
102B    Big Picture Solutions Bank Records (2011 - 2013)
102C    Big Picture Solutions Bank Records (2013-2014)
102D    Big Picture Solutions Selected Emails
103     Vendor Chart – Mercedes Benz of Alexandria
103A    2012.10.01 Invoice for K. Manafort Purchase of Mercedes Benz SL550
103B    2012.10.01 Buyers Order for K. Manafort Purchase of Mercedes Benz
        SL550
104     Photographs – Mercedes Benz owned by P. Manafort
105     2012.10.01 K. Manafort Promissory Note for Mercedes Benz SL550
106     2012.10.05 $62,750 Wire Transfer from Lucicle Consultants Limited to
        Mercedes Benz of Alexandria
106A    2012 Mercedes Benz of Alexandria Bank Statement and Wire Transfer
107     Vendor Chart – New Leaf Landscape
107A    New Leaf Landscape Invoices (2010-2014)
108A    Photograph – Bridgehampton Driveway
108B    Photograph – Bridgehampton Pond
108C    Photograph – Bridgehampton Side of House
108D    Photograph – Bridgehampton Pergola
108E    Photograph – Bridgehampton Pool House
108F    Photograph – Bridgehampton Golf Hole
109     New Leaf Landscape Bank Records
110     2012.06.21 Proposal
111     Vendor Chart – House of Bijan
111A    House of Bijan Invoices (2010-2012)
112     House of Bijan Bank Records
113     2014.10.15 New York Yankees Ticket Agreement
113A    New York Yankees Manafort Payment Schedule
114     2011.11.28 Email D. Saltmarsh to R. Barre, N. Pizzutello re FW 2012
        renewal payment
114A    2011.11.28 Email D. Saltmarsh to R. Barre, N. Pizzutello re FW 2012
        renewal payment
115     2016.03.22 Email P. Manafort to D. Fox re Yankees Season Ticket
        Licensee News
115A    2016 New York Yankees Premium Suite Statement
116     2017.04.03 Email P. Manafort to D. Fox re Yankees 2017
117     FinCEN Certifications
118     Airbnb 29 Howard St Active Listing Days
119     Airbnb 29 Howard St Listings



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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
120     Airbnb 29 Howard St Reservations

121A    2011 Davis Manafort Partners General Ledger

121B    2011 Davis Manafort Partners Financial Statements
121C    2011 P. Manafort and K. Manafort General Ledger
121D    2011 DMP International General Ledger
121E    2011 DMP International Financial Statements
122A    2012 DMP International General Ledger
122B    2012 DMP International Financial Statements
122C    2012 P. Manafort and K. Manafort General Ledger
123A    2013 DMP International General Ledger
123B    2013 DMP International Financial Statements
123C    2013 P. Manafort and K. Manafort Financial Statements
124A    2014 DMP International General Ledger
124B    2014 DMP International Financial Statements
124C    2014 P. Manafort and K. Manafort Financial Statements
125A    2015 DMP International General Ledger
125B    2015 DMP International Financial Statements
125C    2015 P. Manafort and K. Manafort Financial Statements
126A    2016 DMP International General Ledger
126B    2016.07.31 DMP International 2016 YTD P&L
126C    2016.11.30 DMP International 2016 YTD Financial Statement
126D    2016 DMP International Financial Statement
126E    [Intentionally Left Blank]
126F    2016 P. Manafort and K. Manafort Financial Statements
127     2015.02.05 Email Chain J. Manafort, K. Manafort, P. Ayliff, H. Washkuhn
        re MC Soho
128     2015.02.24 Email Chain H. Washkuhn, C. O'Brien, P. Ayliff, R. Gates et al
        re DMP International
129     2015.04.13 Email Chain H. Washkuhn, P. Ayliff, C. O'Brien, R. Gates et al
        re DMP International
130     2015.08.26 Email Chain L. Tanner, C. O'Brien, H. Washkuhn re DMP
        International LLC
131     2015.12.01 Email Chain J. Yohai, H. Washkuhn, J. Manafort, P. Manafort
        re Howard St December Rent
132     2015.12.31 Email Chain H. Washkuhn, P. Manafort, R. Gates, C. Laporta,
        P. Ayliff re Time Sensitive - Collection of Information
133     2016 01.06 Email Chain H. Washkuhn, P. Manafort re Bills Through
        1.15.16
134     2016.01.07 Email Chain P. Manafort, R. Gates, H. Washkuhn re Transfer


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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
135     2016.01.29 Email Chain R. Gates, H. Washkuhn re Transfer - Urgent
136     2016.02.22 Email Chain D. Duggan, H. Washkuhn, J. Yohai, P. Manafort
        et al re Evidence of Insurance; Declarations Page; Invoice attached - 377
        Union Street
137     2016.02.24 Email R. Gates to M. Francis, P. Manafort, H. Washkuhn re
        Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter Street -
        Declarations - NO Mortgagee listed both
138     2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
        IMPT (#1)
139     2016.03.16 Email Chain L. Tanner, R. Gates, H. Washkuhn re 2015 P&L -
        IMPT (#2)
140     2016.03.16 Email H. Washkuhn to R. Gates re 2015 P&L IMPT
141     2016.04.04 Email J. Yohai to P. Manafort and H. Washkuhn re Selene
        Finance Invoices
142     2016.05.24 Email Chain H. Washkuhn, R. Gates, P. Manafort re Funds
        URGENT
143     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
        Travelers Auto Cancellation - J. Manafort - invoice attached
144     2016.06.02 Email Chain J. Yohai, H. Washkuhn, P. Manafort et al re
        Travelers Auto Cancellation - J. Manafort - invoice attached
145     2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
        Manafort re Documents needed for Loan
146     2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, P. Manafort, C.
        Laporta re Documents needed for Loan
147     2016.04.21 Email Chain R. Gates, P. Manafort, H. Washkuhn re DMP
        Open Invoices
148     2016.12.20 Email Chain R. Gates, H. Washkuhn, P. Manafort re NKSFB
        Fee
149     2017.01.04 Email Chain, H. Washkuhn, D. Raico, C. Laporta et al re
        Financials for P. Manafort
149A    2015 MC Soho General Ledger
150     2011 Davis Manafort Partners Ledger Report
151     2012.12.31 MAN001-07 DMP International
152     2012 KWC Tax Organizers for P. Manafort
152A    2013-2014 KWC Tax Organizers for P. Manafort
153     KWC Engagement Letters (2012-2016)
154     2014.08.26 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
        Paul's pending matters
155     2014.09.02 Email Chain R. Gates, P. Ayliff, C. O'Brien, C. Laporta re
        Union Street
156     2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
        NYC Property LLCs



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Ex.     Description                                                                  Obj.   Off’d Adm.
No.
157     2015.08.26 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
        Pending Items
158     2015.09.15 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re Call
        Me
159     2015.09.16 Email R. Gates to C. Laporta re DMP International, LLC
160     2015.09.16 Email C. Laporta to R. Gates re Loan doc?
161     2015.12.31 Email P. Manafort to H. Washkuhn re Time Sensitive -
        Collection of Information
162     2016.01.07 Email C. Laporta to D. Fallarino, P. Manafort re PJM CPA
        FIRM - Account Manager Details - C. Laporta
163     2016.02.04 Email Chain C. Laporta, D. Fallarino, M. Francis, R. Gates, P.
        Manafort re DMP Int'l Income Question
164     2016.02.05 Email C. Laporta to R. Gates re Manafort #XXXXX5212
165     2016.02.08 Email R. Gates to C. Laporta re Letter
166     2016.02.08 Email R. Gates to C. Laporta re Letter
167     2016.02.09 Email R. Gates to C. Laporta re Letter
168     2016.02.24 Email Chain C. Laporta, M. Francis, D. Fallarino, R. Gates, P.
        Manafort re Manafort #XXXXX5212
169     2016.03.15 Email Chain C. Laporta, P. Manafort, R. Gates re 377 Union St
        Construction Loan
170     2016.03.25 DMP International Ledger Report re Peranova
171     2016.04.05 Email Chain C. Laporta, C. O'Brien, R. Gates re DMP
        International Questions
172     2016.04.12 Email R. Gates to C. O'Brien re Pending Questions
173     2016.05.02 Email R. Gates to C. Laporta re Letter
174     2016.05.16 Email Chain C. Laporta, D. Fallarino, R. Gates re Manafort
        Items Needed
175     2016.08.11 Email C. Laporta to P. Manafort re 377 Union St loan
176     2016.08.11 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
        Washkuhn re Documents needed for Loan
177     2016.08.11 Email Chain H. Washkuhn, A. Ivakhnik, C. Laporta, P.
        Manafort re Documents needed for Loan
178     2016.09.04 Email Chain P. Ayliff, R. Gates, C. O'Brien, C. Laporta re
        Paul's tax returns - more questions
179     2016.09.13 Email P. Manafort to R. Gates re Updates - DMP
180     2016.09.14 Email Chain R. Gates, P. Ayliff, C. Laporta re Updates - DMP
181     2016.10.04 Email Chain C. Laporta, T. Von Traer, P. Ayliff re Paul
        Manafort's pending matters
182     2016.10.06 Email Chain C. Laporta, P. Manafort, R. Gates re up to date?
183     2016.10.07 Email C. Laporta to P. Manafort re Lola Partners, LLC and
        draft gift tax returns



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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
184     2016.12.28 Email Chain C. Laporta, R. Gates, H. Washkuhn, D. Raico re
        Financial Needed Asap
185     2014 Adjusted Journal Entry Report
186     DMP International 2014 1099-MISC Form
187     DMP International Funds Due to Peranova
188     2012 MC Soho General Ledger
189     2015.09.15 DMP International Ledger Report – Telmar Investments
190     DMP International Ledger Reports – Peranova Entries
191     KWC Manafort Tax Returns Chart
192     2011.09.09 Peranova Loan Agreement
193     TB-01 - Adjusted Trial Balance (2014)
194     TB-01 - Adjusted Trial Balance (2015)
195     2015.09.15 Email R. Gates to C. Laporta re Forms
196     2009.09.09 Email Chain N. Lakkis, P. Ayliff, P. Manafort, D. Walters re
        LOAV
197     2011.03.24 Email P. Manafort to M. Chrysostomides re Transfers from
        Leviathan
198     2011.08.21 Memo P. Ayliff to P. Manafort re 2010 Taxes
199     2011.10.04 Email Chain P. Ayliff, N. Lakkis, P. Manafort re 2010 tax
        filing
200     2011.11.29 Email Chain P. Manafort to R. Gates re Payments
201     2012.06.29 Email Chain R. Gates, N. Lakkis, D. Walters, N. Lakkis re
        Foreign Accounts
202     2012.09.06 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
        International, LLC tax return - DUE 9.17.12
203     2012.09.16 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
        FINAL FINAL Questions
204     2011-2015 IRS E-File Signature Authorizations
205     2013.02.05 Shipment from KWC to P. Manafort
206     2013.06.24 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re
        Foreign account report due 6.30.13
207     2014.08.29 Email P. Ayliff to R. Gates, C. O'Brien re Paul unidentified
        transaction
208     2013.09.13 Email P. Ayliff to C. O'Brien re Paul's tax return questions -
        including 3rd qtr est - due 9/16
209     2014.09.04 Email R. Gates to P. Ayliff re Paul's tax returns - more
        questions
210     2014.09.14 Email Chain H. Washkuhn, P. Ayliff, C. Laporta, R. Gates, L.
        Tanner re MC Soho Holdings
211     2014.12.07 Email Chain P. Ayliff, C O'Brien, C. Laporta re Call with
        Gates - for the 2014 file
212     2015.01.08 Email From P. Manafort to P. Ayliff re - UBS Mortgage

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Ex.     Description                                                                  Obj.   Off’d Adm.
No.
213     2015.02.05 Email Chain P. Manafort, J. Manafort, J. Yohai, K. Manafort,
        P. Ayliff, H. Washkuhn re MC Soho
214     2015.03.19 Email Chain R. Gates, C. O'Brien, P. Ayliff, C. Laporta re
        NYC Property LLCs
215     2016.03.16 Email Chain P. Ayliff, N. Zeien, R. Gates, H. Washkuhn, C.
        O'Brien, C. Laporta re DMP International - Open Items
216     2016.10.03 Email Chain P. Manafort, C. Laporta, R. Gates, P. Ayliff re P.
        Manafort's pending matters
217     Selected KWC Invoices Manafort-Related Entities
218     2015.09.11 Email Chain C. O'Brien, C. Laporta, P. Ayliff, H. Washkuhn,
        R. Gates re DMP Sports Tickets
219     2015.09.15 Email from C. O'Brien to R. Gates cc C. Laporta, P. Ayliff re
        DMP Loan
220     2015.10.07 Email Chain R. Gates, C. O'Brien re Paul's 1040
221     2016.04.05 Email Chain R. Gates, C. O'Brien, C. Laporta re DMP
        International Questions
222     2016.04.15 Email Chain R. Gates, C. O'Brien, C. Laporta, P. Ayliff re
        Pending Questions
223     2015.12.24 Email Chain P. Manafort, D. Fallarino re 27 Howard Street Re-
        fi
224     2016.01.15 Email Chain D. Fallarino, M. Francis, J. Del Bene re Citizens
        Bank, N.A. Package Submitted (Loan Number XXXXX3998)
225     2016.01.21 Email Chain P. Manafort, M. Francis, D. Fallarino re Next
        Steps
226     2016.01.21 Email P. Manafort to M. Francis re Part One
227     2016.01.26 Initial Loan Documents
228     2016.01.27 Email P. Manafort to M. Francis re Remaining Docs - Howard
        Mortgage
229     2016.02.02 Email P. Manafort to M. Francis re Use of Cash Memo
230     2016.05.02 Email Chain D. Fallarino, P. Manafort, C. Laporta, R. Gates, J.
        Yohai re Primary Residence Letter - Union St
231     2016.02.09 Email Chain D. Fallarino, P. Manafort, M. Francis re DMP Int'l
        Income question
232     2016.02.12 Email Chain M. Guadron, D. Fallarino, T. Rodriguez re
        Manafort #XXXXX5212
233     2016.02.17 Log Entry Email P. Miceli, M. Guadron, D. Fallarino, M.
        Francis re ATP submitted Loan XXXXX5212 - Manafort, P.
234     2016.08.11 Email Chain C. Laporta, P. Manafort, D. Fallarino, H.
        Washkuhn et al re Paul & DMP International
235     2016.02.21 Email Chain M. Francis, P. Manafort, H. Washkuhn, R. Gates,
        D. Fallarino re final document request
236     2016.02.23 Email M. Francis to D. Duggan re manafort morgagee clause
        update

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Ex.     Description                                                                Obj.   Off’d Adm.
No.
237     2016.02.23 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
        re Final Document Request
238     2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
        update
239     2016.02.24 Email D. Duggan to M. Francis re manafort morgagee clause
        update
240     2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
        re Final Document Request
241     2016.02.24 Email Chain M. Francis, R. Gates, P. Manafort, H. Washkuhn
        re Final Document Request
242     2016.02.24 Email Chain R. Gates, M. Francis, P. Manafort, H. Washkuhn
        re Manafort Chubb Insurance Properties - 377 Union St & 123 Baxter
        Street - Declarations - NO Mortgagee listed both
243     2016.02.17 Email Chain P. Miceli , D. Fallarino, M. Guadron re Secret
        Exception Request Submission [Manafort/0024625212]
244     2016.02.24 Email M. Francis to J. Dos Santos re Manafort Additional
        conditions
245     2016.03.04 29 Howard St Signed 1003 Form ($2,730,000 Conventional)
246     2016.03.04 29 Howard St Signed 1003 Form ($682,500 HELOC)
247     2016.03.04 29 Howard St Closing Documents
248     2016.04.25 Email Chain P. Manafort, R. Gates, J. Yohai, D. Fallarino, C.
        Laporta, T. Rodriguez, H. Washkuhn re 377 Union St Construction Loan
249     2016.05.04 Email Chain P. Manafort, D. Fallarino, T. Rodriguez re KWC
        Letter
250     2016.05.02 Letter P. Manafort to D. Fallarino
251     2016.05.06 Email Chain P. Manafort, D. Fallarino, R. Gates. T. Rodriguez
        re Primary Residence Letter - Union St
252     2016.05.09 Email Chain T. Rodriguez, J. Yohai, D. Fallarino, P. Manafort
        re 377 Union St Consruction Loan
253     2016.03.16 Email Chain P. Manafort, R. Gates, C. Laporta re 377 Union St
        Consruction Loan
254     2016.05.17 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
        Rodriguez re Manafort Items Needed
255     2016.07.13 377 Union St Uniform Residential Loan Application
256     2016.08.09 Email Chain T. Rodriguez, D. Fallarino, P. Miceli, M. Guadron
        re Manafort - OMG
257     2016.08.16 Email T. Rodriguez to D. Fallarino re Manafort file
258     2017.08.17 Email Chain D. Fallarino, A. Howey, T. Rodriguez, M. Francis
        re Manafort #002789869
259     2016.02.09 Email Chain D. Duggan, S. Belleau, J .Yohai, P. Manafort Re
        Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St



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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
260     2016.02.22 Email Chain D. Duggan, H. Washkuhn, P. Manafort, J. Yohai
        re Evidence of Insurance; Decl. Page; Invoice Att. - 377 Union St
261     2016.02.23 Email D. Duggan to H. Washkuhn re Manafort Insurance
        Requests
262     2016.02.24 Email D. Duggan to R. Gates re Manafort Chubb Insurance
        Properties - 377 Union St & 123 Baxter Street - Declarations - NO
        Mortgagee listed both
263     2016.02.24 Email D. Duggan to R. Gates re Call
264     Moody Insurance Client Log
265     2016.07.28 Email S. Calk to D. Raico et al re Revised Portfolio Summary -
        P. Manafort and J. Yohai
266     2016.08.02 Email Chain C. Laporta, A. Ivakhnik, D. Raico, P. Manafort,
        R. Gates, H. Washkuhn re Documents Needed for Loan
267     2016.08.03 Email Chain C. Laporta, A. Ivakhnik, P. Manafort, H.
        Washkuhn re Documents Needed for Loan
268     2016.08.03 Email D. Raico to P. Manafort re Need S. Calk Resume
269     2016.08.04 Email P. Manafort to S. Calk re S. Calk- Professional Bio
270     2016.08.10 Email Chain A. Ivakhnik, H. Washkuhn, C. Laporta, P.
        Manafort re Documents needed for Loan
271     D. Raico Journal
272     2016.08.09 Email A. Ivakhnik to D. Raico et al re New Appraisal Order
273     2016.08.11 Notice Titled Mortgage Fraud is Investigated by the FBI
274     2016.08.16 Email Chain A. Ivakhnik, T. Horn, D. Raico re 2013 P.
        Manafort's tax returns
275     2016.09.13 Email Chain T. Horn, J. Ubarri, J. Norini, J. Brennan re
        Manafort
276     2016.10.05 Email D. Raico to J. Ubarri re Manafort/Yohai and M. Bello
        files - update post S. Calk meeting
277     2016.10.07 Email Chain S. Calk, P. Manafort, D. Raico re Closing on
        Nottingham & Bridgehampton Loans
278     2016.10.11 Email Chain T. Horn, D. Raico, P. Manafort, C. Laporta, J.
        Brennan re My 2015 Tax Return - FINAL Draft
279     2016.10.19 Email Chain J. Brennan, J. Ubarri, P. Manafort, D. Raico, B.
        Baldinger, J. Yohai re Restructure framework of Loan Agreement
280     2016.10.19 Email P. Manafort to B. Baldinger, D. Raico, J. Yohai re
        Restructure framework of Loan Agreement
281     2016.10.20 Email Chain D. Raico, P. Manafort, B. Baldinger, J. Yohai re
        Restructure framework of Loan Agreement
282     2016.10.21 Email P. Manafort to D. Raico re DMP P&L Sept 2016
283     2016.10.21 Email Chain D. Raico, E. Cholakis, P. Manafort re DMP P&L
        Sept 2016
284     2016.10.21 Email Chain D. Raico, J. Ubarri, J. Brennan re Manafort loan



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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
285     2016.10.26 Email Chain C. Laporta, P. Manafort, D. Raico, J. Yohai, B.
        Baldinger, H. Washkuhn re Hampton Refinance - Deliverables Update
286     2016.10.26 Email Chain T. Horn, D. Raico, J. Brennan et al re Manafort
        Review - compared both files too
287     2016.10.28 Signed Uniform Residential Loan Application Bridgehampton
288     2016.10.28 Undisclosed Debt Acknowledgement
289     2016.11.01 377 Union St Uniform Residential Loan Application
290     2016.11.08 Email Chain V. Bartholomew, D. Raico, S. Miller, A. Sparks re
        Request for supporting documentation - Mr. P. Manafort/Loan #XXX3572
291     2016.12.07 Email D. Raico to J. Brennan re Moving forward with
        Manafort's Brooklyn property
292     2016.12.07 Email S. Calk to D. Raico re Nervousness is setting in
293     2017.01.05 377 Union St Loan Memorandum
294     2016.08.11 2401 Nottingham Uniform Residential Loan Application
295     2016.12.07 Email S. Calk to P. Manafort, D. Raico re Updates?
296     2016.03.09 Banc of California Loan Application
297     2016.03.10 Email P. Manafort to P. Kaufman re Schedule of Real Estate
298     2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re
        Manafort BTRs
299     2016.03.16 Email R. Gates to P. Kaufman, P. Manafort, J. Yohai re
        Response
300     2016.03.23 Email P. Manafort to P. Kaufman, J. Yohai re K. Manafort PFS
301     2016.03.23 Email Chain J. Yohai, P. Manafort, R. Gates, P. Kaufman, K.
        LaPorte re Manafort Yohai information
302     2016.05.05 Email Chain S. Bently, T. Quick, G. Seferian, P. Kaufman, K.
        LaPorte et al re Baylor Holdings
303     2016.05.09 Credit Approval Memorandum
304     2016.03.16 Email Chain J. Yohai, P. Manafort, R. Gates re STATUS
305     2016.05.11 Business Loan Agreement
306     2016.05.11 Commercial Guaranty
307     2016.03.11 377 Union St Title Search
308     2016.07.13 Email Chain K. LaPorte, T. Holmes, G. Seferian et al re Baylor
        Holding, LLC
309     2016.09.08 Memo K. LaPorte to File, G. Seferian, P. Alexander re Meeting
        with P. Manafort and J. Yohai
310     2017.03.23 Handwritten Notes
311     2017.06.27 Forbearance Agreement
312     Handwritten Notes on Chart
313     2016.02.08 P. Manafort Borrower's Affidavit
314     2016.02.09 377 Union St Building Loan Agreement
315     2016.02.09 Evidence of Property Insurance


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Ex.     Description                                                                Obj.   Off’d Adm.
No.
316     2016.02.09 P. Manafort Borrower's Affidavit
317     2016.02.09 P. Manafort Guarantee
318     2016.02.09 P. Manafort Guarantee
319     2016.02.23 Recorded Building Loan Mortgage and Security Agreement
320     2016.02.23 Recorded Mortgage, Assignment of Leases and Rents and
        Security Agreement
321     2016.09.02 Email Chain J. Day, B. Baldinger, J. Yohai re M. Solow
        communications
322     2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Filed Notice of
        Pendency
323     2016.09.20 Genesis Capital v. MC Brooklyn Holdings et al Served Notice
        of Pendency
324     2017.01.23 Genesis Capital v. MC Brooklyn et al Affirmation Canceling
        Notice of Pendency
325A    P. Manafort American Express Bank Records for Account No. XXXX-
        XXXXXXX-3007
325B    P. Manafort American Express Bank Records for Account No. XXXX-
        XXXXXXX-5007, 2016-17
325C    P. Manafort American Express Bank Records for Account No. XXXX-
        XXXXXXX-6002, 2016
326     R. Gates American Express Bank Records for Account No. XXXX-
        XXXXXXX-3003
327     Aegis Holdings Stipulation
327A    Aegis Holdings Stipulation Exhibit
328     First Nationwide Title Stipulation
328A    First Nationwide Title Stipulation Exhibits
329     J&J Oriental Rug Gallery Stipulation
329A    J&J Oriental Rug Gallery Stipulation Exhibits
330     Kensington Vanguard Stipulation
330A    Kensington Vanguard Stipulation Exhibits
331     Land, Carroll & Blair Stipulation
331A    Land, Carroll & Blair Stipulation Exhibits
332     Land Rover of Alexandria Stipulation
332A    Land Rover of Alexandria Stipulation Exhibits
333     Mercedes Benz of Alexandria Stipulation
333A    Mercedes Benz of Alexandria Stipulation Exhibit
334     Sabatello Construction Stipulation
334A    Sabatello Construction Stipulation Exhibits
335     Scott Wilson Landscaping Stipulation
335A    Scott Wilson Landscaping Stipulation Exhibit
336     Sensoryphile Stipulation


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Ex.     Description                                                                Obj.   Off’d Adm.
No.
336A    Sensoryphile Stipulation Exhibits
337     Tax Returns Stipulation
337A    1040 Paul J. Manafort 2010 (certified)
337B    1040 Paul J. Manafort 2011 (certified)
337C    1040 Paul J. Manafort 2012 (certified)
337D    1040 Paul J. Manafort 2013 (certified)
337E    1040 Paul J. Manafort 2014 (certified)
337F    1065 DMP International 2011 (certified)
337G    1065 DMP International 2012 (certified)
337H    1065 DMP International 2013 (certified)
337I    1065 DMP International 2014 (certified)
337J    1065 MC Brooklyn 2012-2014 (lack of records)
337K    1065 MC Soho 2012-2014 (lack of records)
337L    1065 MC Soho 2015 (certified)
337M    1065 MC Soho 2016 (certified)
337N    1120S Davis Manafort Partners 2010 (certified)
337O    1120S Davis Manafort Partners 2011 (certified)
337P    1120S Davis Manafort Partners 2012-2014 (lack of records)
337Q    1065 John Hannah 2010 (certified)
337R    1065 John Hannah 2011 (certified)
337S    1065 John Hannah 2012 (certified)
337T    1065 John Hannah 2013 (certified)
337U    1065 John Hannah 2014 (certified)
338A    R. Gates 2009 Passport
338B    R. Gates 2011 Passport
338C    R. Gates 2013 Passport
339     2016.11.24 Email P. Manafort to R. Gates re DOD Service secretaries
340     2010.02.20 Memo P. Manafort to V. Yanukovych re Launch of Public
        Affairs Plan
341     2012.04.08 Memo P. Manafort to V. Yanukovych re AC Project - Update
342     2012.06.04 Email Chain P. Manafort, K. Kilimnik, R. Gates re ST
        documents
343     2012.06.19 Memo P. Manafort to AK re Polling Project - Update
344     2012.07.12 Email K. Kilimnik to P. Manafort, R. Gates re EI Outreach -
        International Plan
345     2012.07.13 Email K. Kilimnik to P. Manafort, R. Gates re Demidko
        documents - Party program
346     2012.10.06 Email P. Manafort to K. Kilimnik, R. Gates, D. Rabin et al re
        Memo on campaign Status
347     2013.02.04 Memo P. Manafort to V. Yanukovych re US Government
        Activity

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Ex.     Description                                                              Obj.   Off’d Adm.
No.
348     2013.02.19 Memo P. Manafort to V. Yanukovych re US Government
        Update
349     2013.02.21 Memo P. Manafort to V. Yanukovych re Hapsburg - Update
350     2013.04.22 Memo P. Manafort to V. Yanukovych re US Consultants
351     Memo P. Manafort to BVK, S. Lyovochkin re Campaign budget for
        national and regional TV, radio advertising
352     2014.10.29 Memo P. Manafort to S. Lyovochkin, R. Akhmetov re
        Roadmap for November - December 2014
353     DMP International Consulting Agreement
354     2010.01.31 Memo P. Manafort to V. Yanukovych et al re Final Week -
        Strategy, Tactics and Messages
355     2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus
356     2009.04.20 Memo P. Manafort to O. Deripaska re Cyprus
357     2010.04.06 Memo P. Manafort to K. Kilimnik re SL Staff Meeting
358     2010.04.09 Memo P. Manafort to V. Yanukovych re Goals of US Trip
359     2011.10.11 Memo P. Manafort to V. Yanukovych and S. Lyovochkin re
        Consulting Payments
360A    2011.04.18 Email Chain P. Manafort, R. Gates, N. Lakkis, P. Ayliff re
        2010 extension
360B    2012.04.14 Email Chain P. Manafort, N. Lakkis, R. Gates, P. Ayliff, C.
        O'Brien re Mirror Cube Films
360C    2012.12.14 Email P. Ayliff to P. Manafort, R. Gates, N. Lakkis re Tax
        planning and year end issues
360D    2013.03.19 Email Chain N. Lakkis, C. O'Brien, P. Manafort, R. Gates re
        Ameriprise Statement of income 2012
360E    2014.09.10 Email P. Ayliff to P. Manafort, R. Gates, C. O'Brien, C.
        Laporta re Summary of call today
360F    2015.06.01 Email P. Manafort to P. Ayliff, T. Barry re LilRED
361     2013.09.20 Email A. Damianou to R. Gates re Yiakora
362     2014.01.24 Email C. Nicolaou to R. Gates, G. Ioannou re
        Payments/Transfers
363     2015.07.10 Email R. Gates to K. Kilimnik re Contract for 1
364     2015.08.25 Email K. Kilimnik to R. Gates re Contract for 1
365     2015.08.28 Email Chain P. Manafort, R. Gates, K. Kilimnik re FYI
366     Invoice DMP International to Opposition Bloc Party
367     2014.03.19 Email A. Damianou to R. Gates re Serangon Holdings Limited
368     2014.05.02 Email A. Damianou to R. Gates re Cyprus Companies
369     [Intentionally Left Blank]
370     2011.11.29 Email Chain P. Manafort, R. Gates re Payments
370A    2012.04.30 Email Chain P. Manafort, R. Gates re May Payments
370B    2012.09.26 Email Chain P. Manafort, R. Gates re Payments
370C    2012.11.27 Email Chain P. Manafort, R. Gates re Payments

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Ex.     Description                                                                Obj.   Off’d Adm.
No.
371     [Intentionally Left Blank]
372     2013.03.21 R. Gates Agenda
373     2014.12.13 Email Chain R. Gates, P. Manafort re con call this morning -
        around 800 am
374     2013.09.11 Email Chain R. Gates, N. Lakkis, P. Ayliff, C. O'Brien re DMP
        International
375     2015.04.17 Email Chain R. Gates, P. Manafort re Tax - Extensions
376     2015.08.31 Email Chain H. Washkuhn, E. Paik, L. Tanner, R. Gates re
        Income
377     2016.03.16 Email P. Manafort to R. Gates re 377 Union St Consruction
        Loan
378     2016.09.13 Email Chain H. Washkuhn, R. Gates, L. Tanner re Manafort
        related entities - due by 9.15
379     2016.07.26 Email Chain H. Washkuhn, R. Gates re DMP Funding
380     2016.01.06 Email P. Manafort to R. Gates re VIP TIME SENSITIVE
381     2012.08.10 Email R. Gates to V. Weber, T. Podesta re Question
382     2012.10.09 Memo P. Manafort to S. Lyovochkin re Translation Expenses
383     2013.03.23 Memo P. Manafort to S. Lyovochkin re US Consultants
        Activity - Weekly Update
384     2016.02.24 Email Chain R. Gates, P. Manafort re Update
385     2016.02.26 Email R. Gates to P. Manafort re Success
386     2015.05.11 Email R. Gates to P. Manafort re Updates
387     2012.12.20 Memo from R. Gates to P. Manafort re 2012 Taxes
388     2016.02.08 Email Chain P. Manafort, R. Gates re Letter
389     2016.02.08 Email R. Gates to P. Manafort re Letter
390     [Intentionally Left Blank]
391     2016.03.16 Email Chain R. Gates, P. Manafort, J. Yohai re needs
392     2016.03.16 Email Chain P. Manafort, R. Gates re Responses
393     2016.01.14 Email Chain P. Manafort, R. Gates, Yankees Premium re
        Important 2016 Ticket License Balance Due
394     2016.01.23 Email Chain R. Gates, P. Manafort, D. Fox re Updated Contact
        Information
395     2016.01.26 Email Chain P. Manafort, R. Gates, D. Fox re Please Reply "I
        authorize this payment"
396     2016.01.26 Email Chain R. Gates, P. Manafort re 2 things
397     2016.08.04 Email Chain R. Gates, J. Miller, M. Abboud, P. Manafort et al
        re Campaign Announces Economic Advisory Council
398     2016.03.15 Email R. Gates, P. Manafort, C. Laporta re 377 Union St
        Consruction Loan
399     2016.11.24 Email P. Manafort to R. Gates re DOD Service secretaries
400     2016.03.22 Email Chain P. Manafort, D. Fallarino, R. Gates re 377 Union
        St Consruction Loan

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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
401     2016.05.01 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, T.
        Rodriguez re 377 Union St Consruction Loan
402     2016.12.23 Email P. Manafort to R. Gates re Urgent Inaugural Invitations
        Lists - Final
403     2016.05.06 Email Chain P. Manafort, R. Gates, D. Fallarino, T. Rodriguez
        re Primary Residence Letter - Union St
404     [Intentionally Left Blank]
405     2016.10.21 Email Chain P. Manafort, R. Gates, H. Washkuhn re 2016 P&L
406     2016.10.21 Email P. Manafort to R. Gates re pls convert
407     2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
408     2016.10.21 Email R. Gates to P. Manafort re 2016 P&L
409     2016.10.21 Email P. Manafort to R. Gates re AGENDA
410     [Intentionally Left Blank]
411     2016.10.21 Email R. Gates to P. Manafort re pls convert
412A    P. Manafort 2008-2018 Passport
412B    P. Manafort 2012-2014 Passport
412C    [Intentionally Left Blank]
413     2016.01.01 - 2017.07.25 P. Manafort AT&T Phone Records
414     2010.06.01 Email P. Manafort to K. Kilimnik re Q and A for VY
415     2010.06.02 Email P. Manafort to K. Kilimnik re Press and Diplomatic
        Package
416     2011.11.29 Email Chain P. Manafort, R. Gates re Payments
417     2012.07.14 Email Chain P. Manafort, D. Rabin, T. Fabrizio, B. Ward, K.
        Kilimnik, R. Gates, V. Stepanov re testimonials, Accomplishments,
        schedule
418     2014.05.24 Email P. Manafort to K. Kilimnik cc R. Gates re Organization
        of Package of documents
419     2014.08.25 Email Chain P. Manafort, N. Azzam, T. Barry, R. Joyce re
        Mortgage Rates
420     2015.09.25 Email Chain P. Manafort, R. Gates re update
421     2012.10.15 Monday Agenda
422     2016.01.26 Email P. Manafort to J. Yohai re Howard St Appraisal
423     2016.02.09 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re
        Lease for 5th Ave property
424     2016.02.11 Email Chain P. Manafort, R. Gates, D. Fallarino, M. Francis re
        Letter of Forgiveness
425     2016.02.12 Email P. Manafort to J. Yohai re Citizens Loan - Howard St
426     2016.02.16 Email Chain P. Manafort, R. Gates, K. Mazzocco, T. Barry, H.
        Washkuhn re Personal and DMP bills
427     2016.02.17 Email Chain P. Manafort, R. Gates re My signature
428     2016.02.24 Email P. Manafort to D. Fallarino re 2 issues re Union St and
        Baxter St

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Ex.     Description                                                              Obj.   Off’d Adm.
No.
429  2016.02.26 Email Chain P. Manafort, R. Gates, M. Francis, D. Fallarino re
     Success
430  2016.03.09 Email R. Gates to P. Manafort re Personal Finance Statement
431  2016.03.10 Email P. Kaufman to P. Manafort re Schedule of Real Estate
432  2016.03.22 Email Chain P. Manafort, R. Gates, D. Fallarino, J. Yohai, C.
     Laporta re 377 Union St Consruction Loan
433  2016.08.04 Email Chain S. Calk, P. Manafort re S. Calk- Professional Bio
434  2016.08.15 Email J. Wetzel to P. Manafort re Scan
435  2016.10.26 Email Chain J. Yohai, P. Manafort, J. Yohai, D. Raico re
     Hampton Refinance - Deliverables Update
436A Alan Couture Certificate of Authenticity
436B Rabin Strasberg Certificate of Authenticity
436C Devine Mulvey Longabaugh Certificate of Authenticity #1
436D Devine Mulvey Longabaugh Certificate of Authenticity #2
436E Federal Stone & Brick Certificate of Authenticity
436F New York Yankees Certificate of Authenticity
436G Joel Maxwell Certificate of Authenticity
436H New Leaf Landscape Certificate of Authenticity
436I Moody & Associates Certificate of Authenticity
436J SP&C Home Improvement Certificate of Authenticity
436K SunTrust Certificate of Authenticity
436L Cyprus Incorporation Documents (66A) Certificate of Authenticity
436M Eurobank Documents (66B) Certificate of Authenticity
436N Hellenic Bank Documents (66C) Certificate of Authenticity
436O Bank of Cyprus (66D) Certificate of Authenticity
436P Bank of Cyprus (66E) Certificate of Authenticity
436Q Accounting Records (66F) Certificate of Authenticity
436R Hellenic Bank (66G) Certificate of Authenticity
436S St. Vincent and the Grenadines (67A) Certificate of Authenticity
436T St. Vincent and the Grenadines (67B) Certificate of Authenticity
436U St. Vincent and the Grenadines (67C) Certificate of Authenticity
437  2016.11.12 Summerbreeze Loan Memorandum
438  2016.12.13 Email Chain D. Raico, P. Manafort, J. Brennan, C. Laporta, T.
     Horn re My 2015 Tax Return - FINAL Draft
439  2016.08.04 Email S. Calk to P. Manafort re Stephen Calk-Professional Bio
440  2016.09.25 Email P. Manafort to S. Calk re Monday
441  2016.10.07 Email S. Calk to P. Manafort re Closing on Nottingham &
     Bridgehampton loans
442  2016.10.08 Email P. Manafort to S. Calk re sorry I missed you
443  2016.11.14 Email S. Calk to P. Manafort re


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Ex.     Description                                                                 Obj.   Off’d Adm.
No.
444     December 11 Conference Call Agenda
445     R. Gates Agenda
446     Gates - payments
447A    Actinet BOC Account Documents
447B    Actinet Hellenic Account Documents
447C    Black Sea BOC Account Documents
447D    Bletilla BOC Account Documents
447E    Bletilla Hellenic Account Documents
447F    Global Endeavour Loyal Bank Account Documents
447G    Global Highway BOA Account Documents
447H    Jeunet Loyal Bank Account Documents
447I    Leviathan BOC Account Documents
447J    LOAV BOC Account Documents
447K    Lucicle BOC Account Documents
447L    Lucicle Hellenic Statements
447M    Marziola Hellenic and BOC Account Documents
447N    Olivenia Hellenic and BOC Account Documents
447O    Peranova BOC Account Documents
447P    Serangon BOC Account Documents
447Q    Yiakora BOC Account Documents
448     Email Stipulation
449     FDIC Stipulation
450     Financial Records Stipulation
451     Business Records of Bookkeeping and Tax Preparation Services
        Stipulation
452     2016.11.19 Email S. CalK to P. Manafort re S. M. Calk - Candidate for
        SEC ARMY
453     2012.01.24 Email P. Manafort to M. Gibson re Transfers
454     P. Manafort Flight Manifests
456     Stipulation Regarding Foreign Bank Records
458     2018.07.31 Email C. Moody to B. Flores re Incident Report: Deletion of an
        email/mortgagee spreadsheet - P. Manafort
460     2014.12.24 Email R. Gates to P. Manafort re Wire today
500     Genesis Capital Stipulation
501     2016.10.26 Email Chain P. Manafort, J. Yohai, D. Raico re Hampton
        Refinance - Deliverables Update
502     2016.11.30 Email Chain J. Kushner, P. Manafort re 3 Recommendations
        for Major Appointments
503     2016.03.12 Email P. Manafort to H. Washkuhn re Howard St Monthly
        Payments - Set Up Automatic Deposits


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                                         Respectfully submitted,

                                         ROBERT S. MUELLER, III
                                         Special Counsel



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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of August, 2018, I will cause to be filed electronically

the foregoing with the Clerk of Court using the CM/ECF system, which will then send a

notification of such filing (NEF) to the following:


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